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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 JOHN SMITH,

                                   Plaintiff,

                       -against-                                     19-CV-3572-LTS

 UNITED STATES MARSHALS SERVICE and
 EXECUTIVE OFFICE FOR UNITED STATES
 ATTORNEYS,

                                   Defendants.


                                                 ORDER

               The Court has received pro se plaintiff John Smith’s letter dated September 29,

2020, requesting that the Court grant him an extension to respond to defendants’ letter and

declaration filed on September 11, 2020, supplementing defendants’ motion for summary

judgment. (Docket Entry No. 34.)

               The Court will file plaintiff’s letter under seal for substantially the reasons stated

in the Court’s sealed order dated January 8, 2020, and will provide a copy to counsel for

defendants.

               Plaintiff’s request for an extension of time is granted. Plaintiff may file a

response to defendants’ September 11, 2020, submission by November 6, 2020.

       SO ORDERED.

Dated: New York, New York
       October 19, 2020
                                                               /s/ Laura Taylor Swain
                                                              LAURA TAYLOR SWAIN
                                                              United States District Judge


Copy mailed by Chambers to:
Plaintiff John Smith

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